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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
  DAVE FERRIS,

         Plaintiff,

  v.                                                 CASE NO.: 17-cv-60453-BLOOM/Valle

  I.C. SYSTEM, INC.,

         Defendant.


              JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE


        COMES NOW the Plaintiff, DAVE FERRIS, and the Defendant, I.C. SYSTEM, INC.,
 pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, without prejudice, the
 claims asserted by Plaintiff against the Defendant, in the above styled action.


        Respectfully submitted on May 12, 2017.


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